                          Case 8-24-70793-ast                     Doc 1         Filed 02/29/24          Entered 02/29/24 14:52:26



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                            Chapter you are filing under:
                                                                                     Chapter 7
                                                                                     Chapter 11
                                                                                     Chapter 12

                                                                                     Chapter 13                                         Check if this is an
                                                                                                                                        amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                       12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would
be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between
them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the
forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:    Identify Yourself

                                       About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.    Your full name

      Write the name that is on        Jeremy
      your government-issued           First name                                                       First name
      picture identification (for
      example, your driver's
      license or passport).            Middle name                                                      Middle name

      Bring your picture             Fain
      identification to your meeting Last name and Suffix (Sr., Jr., II, III)                           Last name and Suffix (Sr., Jr., II, III)
      with the trustee.


2.    All other names you have
      used in the last 8 years
      Include your married or
      maiden names and any
      assumed, trade names and
      doing business as names.
      Do NOT list the name of any
      separate legal entity such as
      a corporation, partnership,
      or LLC that is not filing this
      petition.


3.    Only the last 4 digits of
      your Social Security
      number or federal                xxx-xx-1189
      Individual Taxpayer
      Identification number
      (ITIN)




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Debtor 1   Jeremy Fain                                                                               Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 955 Old Britton Rd
                                 Bellmore, NY 11710
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Nassau
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it in
                                 above, fill it in here. Note that the court will send any     here. Note that the court will send any notices to this mailing
                                 notices to you at this mailing address.                       address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                 Check one:
     bankruptcy                        Over the last 180 days before filing this petition, I
                                       have lived in this district longer than in any other              Over the last 180 days before filing this petition, I have
                                       district.                                                         lived in this district longer than in any other district.

                                       I have another reason.                                            I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                                  Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Jeremy Fain                                                                                      Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                     Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee             I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                          about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money order.
                                          If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                          pre-printed address.
                                          I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                          Filing Fee in Installments (Official Form 103A).
                                          I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                          not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                          your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                          to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for              No.
     bankruptcy within the last
     8 years?                        Yes.
                                               District                                   When                              Case number
                                               District                                   When                              Case number
                                               District                                   When                              Case number



10. Are any bankruptcy cases         No
    pending or being filed by
    a spouse who is not filing       Yes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                               Debtor                                                                     Relationship to you
                                               District                                   When                            Case number, if known
                                               Debtor                                                                     Relationship to you
                                               District                                   When                            Case number, if known



11. Do you rent your                 No.        Go to line 12.
    residence?
                                     Yes.       Has your landlord obtained an eviction judgment against you?
                                                          No. Go to line 12.
                                                          Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of this
                                                          bankruptcy petition.




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Debtor 1    Jeremy Fain                                                                                       Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time           No.       Go to Part 4.
    business?

                                        Yes.      Name and location of business

     A sole proprietorship is a
     business you operate as an                   Mythic Games LLC
     individual, and is not a                     Name of business, if any
     separate legal entity such as
     a corporation, partnership,
     or LLC.
                                                  955 Old Britton Rd
     If you have more than one                    Bellmore, NY 11710
     sole proprietorship, use a
                                                  Number, Street, City, State & ZIP Code
     separate sheet and attach it
     to this petition.                            Check the appropriate box to describe your business:
                                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                          None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to proceed
    Chapter 11 of the                under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or you are
    Bankruptcy Code, and are         choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations, cash-flow
    you a small business             statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
    defined by 11 U.S. C. §             No.       I am not filing under Chapter 11.
    1182(1)?
    For a definition of small
                                        No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11
                                                  Code.
    U.S.C. § 101(51D).

                                        Yes.      I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and I do
                                                  not choose to proceed under Subchapter V of Chapter 11.

                                        Yes.      I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                                  choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any              No.
    property that poses or is
    alleged to pose a threat of         Yes.
    imminent and identifiable                  What is the hazard?
    hazard to public health or
    safety? Or do you own
    any property that needs                    If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                               Number, Street, City, State & Zip Code




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Debtor 1    Jeremy Fain                                                                                   Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a                  I received a briefing from an approved credit                   I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                  counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of        I received a briefing from an approved credit                    I received a briefing from an approved credit
     the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
     eligible to file.                   certificate of completion.                                       of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee       plan, if any.
     you paid, and your creditors
     can begin collection                I certify that I asked for credit counseling                     I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                     those services during the 7 days after I made my
                                         days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                         of the requirement.
                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                         requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                         efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                         unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                         what exigent circumstances required you to file this
                                         case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                          your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                       bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                         You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                         along with a copy of the payment plan you developed,             your case may be dismissed.
                                         if any. If you do not do so, your case may be
                                                                                                          Any extension of the 30-day deadline is granted only for
                                         dismissed.
                                                                                                          cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                         I am not required to receive a briefing about                    I am not required to receive a briefing about credit
                                         credit counseling because of:                                    counseling because of:

                                                Incapacity.                                                    Incapacity.
                                                I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                                that makes me incapable of realizing or making                 makes me incapable of realizing or making rational
                                                rational decisions about finances.                             decisions about finances.

                                                Disability.                                                    Disability.
                                                My physical disability causes me to be unable                  My physical disability causes me to be unable to
                                                to participate in a briefing in person, by phone,              participate in a briefing in person, by phone, or through
                                                or through the internet, even after I reasonably               the internet, even after I reasonably tried to do so.
                                                tried to do so.

                                                Active duty.                                                   Active duty.
                                                I am currently on active military duty in a                    I am currently on active military duty in a military
                                                military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                         about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                         waiver credit counseling with the court.                         counseling with the court.




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Debtor 1    Jeremy Fain                                                                                       Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                                 individual primarily for a personal, family, or household purpose.”
                                                  No. Go to line 16b.

                                                  Yes. Go to line 17.
                                   16b.       Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                              for a business or investment or through the operation of the business or investment.
                                                  No. Go to line 16c.
                                                  Yes. Go to line 17.
                                   16c.       State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under              No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that after       Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
     any exempt property is                   paid that funds will be available to distribute to unsecured creditors?
     excluded and
     administrative expenses                      No
     are paid that funds will be
     available for distribution                   Yes
     to unsecured creditors?

18. How many Creditors do             1-49                                               1,000-5,000                                   25,001-50,000
    you estimate that you                                                                5001-10,000                                   50,001-100,000
    owe?                              50-99
                                      100-199                                            10,001-25,000                                 More than100,000
                                      200-999

19. How much do you                   $0 - $50,000                                       $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to           $50,001 - $100,000                                 $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                      $100,001 - $500,000                                $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                              $100,000,001 - $500 million                   More than $50 billion


20. How much do you                   $0 - $50,000                                       $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities to      $50,001 - $100,000                                                                               $1,000,000,001 - $10 billion
    be?                                                                                  $10,000,001 - $50 million
                                      $100,001 - $500,000                                $50,000,001 - $100 million                     $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                              $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                   case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                   /s/ Jeremy Fain
                                   Jeremy Fain                                                         Signature of Debtor 2
                                   Signature of Debtor 1

                                   Executed on      February 29, 2024                                  Executed on
                                                    MM / DD / YYYY                                                      MM / DD / YYYY




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                        page 6
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Debtor 1   Jeremy Fain                                                                                       Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                /s/ Peter Corey                                                       Date         February 29, 2024
                                Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                Peter Corey
                                Printed name

                                Macco & Corey, P.C.
                                Firm name

                                2950 Express Drive South
                                Suite 109
                                Islandia, NY 11749
                                Number, Street, City, State & ZIP Code

                                Contact phone     631-549-7900                                  Email address         pcorey@maccolaw.com
                                XX-XXXXXXX NY
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
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 Fill in this information to identify your case:

 Debtor 1                   Jeremy Fain
                            First Name                            Middle Name                            Last Name

 Debtor 2
 (Spouse if, filing)        First Name                            Middle Name                            Last Name

 United States Bankruptcy Court for the:                    EASTERN DISTRICT OF NEW YORK

 Case number
 (if known)                                                                                                                                                          Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                    Your assets
                                                                                                                                                                    Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $              660,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $              103,294.79

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $              763,294.79

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                    Your liabilities
                                                                                                                                                                    Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $              573,666.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $               30,000.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $              626,350.80


                                                                                                                                         Your total liabilities $            1,230,016.80


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                $               10,184.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $                8,555.90

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

            Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household
                purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.

 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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 Debtor 1     Jeremy Fain                                                                       Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                 $   9,500.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                             Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                       $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                              $            30,000.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                    $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                     $            15,501.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                   $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                               $               45,501.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
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Fill in this information to identify your case and this filing:

Debtor 1                    Jeremy Fain
                            First Name                             Middle Name                     Last Name

Debtor 2
(Spouse, if filing)         First Name                             Middle Name                     Last Name

United States Bankruptcy Court for the:                     EASTERN DISTRICT OF NEW YORK

Case number                                                                                                                                                   Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1:       Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                        What is the property? Check all that apply
       3757 Waverly Ave                                                            Single-family home                          Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                                   Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                                   Condominium or cooperative

                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
       Seaford                           NY        11783-0000                      Land                                        entire property?           portion you own?
       City                              State          ZIP Code                   Investment property                               $660,000.00                 $660,000.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                       (such as fee simple, tenancy by the entireties, or
                                                                           Who has an interest in the property? Check one      a life estate), if known.
                                                                                   Debtor 1 only                               Tenancy by the entirety
       Nassau                                                                      Debtor 2 only
       County                                                                      Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                                   At least one of the debtors and another         (see instructions)
                                                                           Other information you wish to add about this item, such as local
                                                                           property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
   you have attached for Part 1. Write that number here...........................................................................=>                          $660,000.00


Part 2:       Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                             Schedule A/B: Property                                                                     page 1
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Debtor 1           Jeremy Fain                                                                                Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:      Lexus                               Who has an interest in the property? Check one               Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
          Model:     CS350                                   Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
          Year:      2020                                    Debtor 2 only                                            Current value of the      Current value of the
          Approximate mileage:            30,000             Debtor 1 and Debtor 2 only                               entire property?          portion you own?
          Other information:                                 At least one of the debtors and another
          Subject to lien
                                                             Check if this is community property                              $35,000.00                 $35,000.00
                                                             (see instructions)



  3.2     Make:      Audi                                Who has an interest in the property? Check one               Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
          Model:     A4                                      Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
          Year:      2020                                    Debtor 2 only                                            Current value of the      Current value of the
          Approximate mileage:            40,000             Debtor 1 and Debtor 2 only                               entire property?          portion you own?
          Other information:                                 At least one of the debtors and another
          Subject to lien
                                                             Check if this is community property                              $30,000.00                 $30,000.00
                                                             (see instructions)



  3.3     Make:      Mercedes                            Who has an interest in the property? Check one               Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
          Model:     Metris                                  Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
          Year:      2017                                    Debtor 2 only                                            Current value of the      Current value of the
          Approximate mileage:            40,000             Debtor 1 and Debtor 2 only                               entire property?          portion you own?
          Other information:                                 At least one of the debtors and another


                                                             Check if this is community property                              $16,000.00                 $16,000.00
                                                             (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  .you have attached for Part 2. Write that number here.............................................................................=>                $81,000.00

Part 3:      Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
      No
        Yes. Describe.....

                                 Misc. Household Goods and Furnishings                                                                                     $2,000.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
      No

Official Form 106A/B                                               Schedule A/B: Property                                                                         page 2
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Debtor 1          Jeremy Fain                                                                                                  Case number (if known)

       Yes. Describe.....

                                            Misc. Electronics                                                                                                         $300.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
      No
       Yes. Describe.....

                                            Books, pictures, collectibles, etc                                                                                      $2,000.00


9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
       No
       Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
       No
       Yes. Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
       Yes. Describe.....

12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
       No
       Yes. Describe.....

13. Non-farm animals
     Examples: Dogs, cats, birds, horses
       No
       Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
       No
       Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
    Part 3. Write that number here ..............................................................................                                                $4,300.00


Part 4:   Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
       Yes................................................................................................................

                                                                                                                                  Cash                                  $50.00




Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 3
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Debtor 1        Jeremy Fain                                                                                       Case number (if known)

17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                   institutions. If you have multiple accounts with the same institution, list each.
      No
      Yes........................                                      Institution name:


                                        17.1.    Checking                     Webster                                                                  $200.00



                                        17.2.    Savings                      Chase - 0070                                                         $5,000.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
       No
      Yes. Give specific information about them...................
                                  Name of entity:                                                                  % of ownership:

                                           Buning tree Gaming LLC                                                       100          %                   $0.00


                                           Mythic Games LLC                                                             100          %                   $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                   Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                               Type of account:                               Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...




Official Form 106A/B                                                   Schedule A/B: Property                                                            page 4
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Debtor 1        Jeremy Fain                                                                                                Case number (if known)

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them...

Money or property owed to you?                                                                                                                            Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
       No
       Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security benefits;
              unpaid loans you made to someone else
       No
       Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
       Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                  Beneficiary:                               Surrender or refund
                                                                                                                                                           value:

                                          Metlife - Whole                                                       Jeremy Fain                                          $12,744.79


32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
    Part 4. Write that number here.....................................................................................................................          $17,994.79


Official Form 106A/B                                                       Schedule A/B: Property                                                                           page 5
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Debtor 1          Jeremy Fain                                                                                                            Case number (if known)


Part 5:    Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.



Part 7:           Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                    $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................            $660,000.00
56. Part 2: Total vehicles, line 5                                                                             $81,000.00
57. Part 3: Total personal and household items, line 15                                                         $4,300.00
58. Part 4: Total financial assets, line 36                                                                    $17,994.79
59. Part 5: Total business-related property, line 45                                                                $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                       $0.00
61. Part 7: Total other property not listed, line 54                                              +                 $0.00
62. Total personal property. Add lines 56 through 61...                                                      $103,294.79               Copy personal property total     $103,294.79

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $763,294.79




Official Form 106A/B                                                               Schedule A/B: Property                                                                      page 6
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Fill in this information to identify your case:

Debtor 1               Jeremy Fain
                       First Name                       Middle Name                Last Name

Debtor 2
(Spouse if, filing)    First Name                       Middle Name                Last Name

United States Bankruptcy Court for the:         EASTERN DISTRICT OF NEW YORK

Case number
(if known)                                                                                                                           Check if this is an
                                                                                                                                     amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                               4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on        Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                portion you own
                                                          Copy the value from    Check only one box for each exemption.
                                                          Schedule A/B

     3757 Waverly Ave Seaford, NY 11783                        $660,000.00                              $132,434.00       NYCPLR § 5206
     Nassau County
     Line from Schedule A/B: 1.1                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     2020 Lexus CS350 30,000 miles                              $35,000.00                                $11,975.00      NYCPLR § 5205(a)(8)
     Subject to lien
     Line from Schedule A/B: 3.1                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     Misc. Household Goods and                                    $2,000.00                                $2,000.00      NYCPLR § 5205(a)(5)
     Furnishings
     Line from Schedule A/B: 6.1                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     Misc. Electronics                                                $300.00                                 $300.00     NYCPLR § 5205(a)(5)
     Line from Schedule A/B: 7.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     Books, pictures, collectibles, etc                           $2,000.00                                $2,000.00      NYCPLR § 5205(a)(2)
     Line from Schedule A/B: 8.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit




Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                                    page 1 of 2
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Debtor 1    Jeremy Fain                                                                            Case number (if known)

    Brief description of the property and line on        Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property                portion you own
                                                         Copy the value from    Check only one box for each exemption.
                                                         Schedule A/B

    Metlife - Whole                                            $12,744.79                                $12,744.79         NY Ins. Law § 3212, Est. Pow.
    Beneficiary: Jeremy Fain                                                                                                & Tr. § 7-1.5, NYCPLR §
    Line from Schedule A/B: 31.1                                                     100% of fair market value, up to       5205(i)
                                                                                     any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                                  Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
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Fill in this information to identify your case:

Debtor 1                   Jeremy Fain
                           First Name                      Middle Name                      Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                      Last Name

United States Bankruptcy Court for the:             EASTERN DISTRICT OF NEW YORK

Case number
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
2.1     ServiceMac/Movement                      Describe the property that secures the claim:               $527,566.00              $660,000.00                      $0.00
        Creditor's Name                          3757 Waverly Ave Seaford, NY
        Mortgage                                 11783 Nassau County
        9726 Old Bailes Rd,
                                                 As of the date you file, the claim is: Check all that
        Suite 200                                apply.
        Fort Mill, SC 29707                          Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                      car loan)
    Debtor 2 only
      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)   Mortgage
      community debt

                                Opened
                                9/20/23
                                Last Active
Date debt was incurred          11/01/23                  Last 4 digits of account number        8456




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 2
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Debtor 1 Jeremy Fain                                                                                         Case number (if known)
              First Name                  Middle Name                       Last Name


2.2     Td Auto Finance                            Describe the property that secures the claim:                    $34,288.00          $30,000.00        $4,288.00
        Creditor's Name                            2020 Audi A4 40,000 miles
        Attn: Bankruptcy                           Subject to lien
        Po Box 9223
                                                   As of the date you file, the claim is: Check all that
        Farmington Hills, MI                       apply.
        48333                                           Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                Opened
                                10/22 Last
                                Active
Date debt was incurred          10/17/23                    Last 4 digits of account number         8941

2.3     Td Auto Finance                            Describe the property that secures the claim:                    $11,812.00          $35,000.00             $0.00
        Creditor's Name                            2020 Lexus CS350 30,000 miles
        Attn: Bankruptcy                           Subject to lien
        Po Box 9223
                                                   As of the date you file, the claim is: Check all that
        Farmington Hills, MI                       apply.
        48333                                           Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                Opened
                                05/21 Last
                                Active
Date debt was incurred          10/28/23                    Last 4 digits of account number         2516


  Add the dollar value of your entries in Column A on this page. Write that number here:                                  $573,666.00
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                 $573,666.00

Part 2:      List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
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Fill in this information to identify your case:

Debtor 1                     Jeremy Fain
                             First Name                    Middle Name                       Last Name

Debtor 2
(Spouse if, filing)          First Name                    Middle Name                       Last Name

United States Bankruptcy Court for the:                EASTERN DISTRICT OF NEW YORK

Case number
(if known)                                                                                                                                             Check if this is an
                                                                                                                                                       amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
      1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim        Priority               Nonpriority
                                                                                                                                          amount                 amount
2.1          NYS Department of                                    Last 4 digits of account number                          $30,000.00          $30,000.00                    $0.00
             Priority Creditor's Name
             Taxation & Finance                                   When was the debt incurred?            2020-2023
             PO Box 5149
             Albany, NY 12205
             Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                           Unliquidated
             Debtor 2 only                                           Disputed
             Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

             At least one of the debtors and another                 Domestic support obligations

             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                      Other. Specify
             Yes                                                                       Sales Tax


Part 2:        List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
      2.
                                                                                                                                                           Total claim




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 6
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Debtor 1 Jeremy Fain                                                                                 Case number (if known)

4.1       Amazon Capital Services                                Last 4 digits of account number                                                      Unknown
          Nonpriority Creditor's Name
          410 Terry Avenue North                                 When was the debt incurred?
          Seattle, WA 98109
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                          Contingent

             Debtor 2 only                                          Unliquidated
             Debtor 1 and Debtor 2 only                             Disputed
             At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims
             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Business Loan


4.2       Bay First                                              Last 4 digits of account number       9102                                         $144,753.36
          Nonpriority Creditor's Name
          700 Central Ave                                        When was the debt incurred?           4/14/2023 - 4/14/2033
          Saint Petersburg, FL 33701
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                          Contingent

             Debtor 2 only                                          Unliquidated
             Debtor 1 and Debtor 2 only                             Disputed
             At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims
             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Business Loan


4.3       Capital One                                            Last 4 digits of account number       9677                                           Unknown
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 06/22 Last Active
          Po Box 30285                                           When was the debt incurred?           07/23
          Salt Lake City, UT 84130
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
             Debtor 2 only                                          Unliquidated

             Debtor 1 and Debtor 2 only                             Disputed
             At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims
             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Charge Account




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 6
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Debtor 1 Jeremy Fain                                                                                 Case number (if known)

4.4       Chase Card Services                                    Last 4 digits of account number       4395                                          $19,903.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 06/15 Last Active
          P.O. 15298                                             When was the debt incurred?           11/23
          Wilmington, DE 19850
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                          Contingent
             Debtor 2 only                                          Unliquidated
             Debtor 1 and Debtor 2 only                             Disputed
             At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims
             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.5       IOU Financial, Inc.                                    Last 4 digits of account number                                                    $445,683.44
          Nonpriority Creditor's Name
          600 Townpark Ln NW                                     When was the debt incurred?
          STE 100
          Kennesaw, GA 30144
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                          Contingent

             Debtor 2 only                                          Unliquidated
             Debtor 1 and Debtor 2 only                             Disputed
             At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims
             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Judgement


4.6       Marcus by Goldman Sachs                                Last 4 digits of account number       9375                                           Unknown
          Nonpriority Creditor's Name
                                                                                                       Opened 06/22 Last Active
          PO Box 45400                                           When was the debt incurred?           08/23
          Salt Lake City, UT 84145-0400
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
             Debtor 2 only                                          Unliquidated

             Debtor 1 and Debtor 2 only                             Disputed
             At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims
             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 6
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Debtor 1 Jeremy Fain                                                                                 Case number (if known)

4.7       Mynt Advance                                           Last 4 digits of account number                                                    Unknown
          Nonpriority Creditor's Name
          633 167th St.                                          When was the debt incurred?
          Suite 804
          Miami, FL 33162
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                          Contingent

             Debtor 2 only                                          Unliquidated
             Debtor 1 and Debtor 2 only                             Disputed
             At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims
             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Business Loan


4.8       Navient                                                Last 4 digits of account number       0812                                         $4,523.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 08/11 Last Active
          Po Box 9500                                            When was the debt incurred?           10/19/23
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                          Contingent

             Debtor 2 only                                          Unliquidated

             Debtor 1 and Debtor 2 only                             Disputed
                                                                 Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community                Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims
             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify
                                                                                     Educational
4.9       Navient                                                Last 4 digits of account number       1021                                         $4,237.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 10/13 Last Active
          Po Box 9500                                            When was the debt incurred?           10/19/23
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                          Contingent

             Debtor 2 only                                          Unliquidated

             Debtor 1 and Debtor 2 only                             Disputed
                                                                 Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community                Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify
                                                                                     Educational




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 4 of 6
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Debtor 1 Jeremy Fain                                                                                 Case number (if known)

4.10      Navient                                                Last 4 digits of account number       1020                                         $4,181.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 10/14 Last Active
          Po Box 9500                                            When was the debt incurred?           10/19/23
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                          Contingent

             Debtor 2 only                                          Unliquidated

             Debtor 1 and Debtor 2 only                             Disputed
                                                                 Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community                Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims
             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify
                                                                                     Educational
4.11      Navient                                                Last 4 digits of account number       0810                                         $2,560.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 08/12 Last Active
          Po Box 9500                                            When was the debt incurred?           10/19/23
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                          Contingent

             Debtor 2 only                                          Unliquidated

             Debtor 1 and Debtor 2 only                             Disputed
                                                                 Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community                Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims
             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify
                                                                                     Educational
4.12      TD Bank, N.A.                                          Last 4 digits of account number       1904                                          $510.00
          Nonpriority Creditor's Name
                                                                                                       Opened 05/23 Last Active
          Td Bank Usbc                                           When was the debt incurred?           11/23
          Greenville, SC 29607
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                          Contingent
             Debtor 2 only                                          Unliquidated
             Debtor 1 and Debtor 2 only                             Disputed
             At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims
             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 5 of 6
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Debtor 1 Jeremy Fain                                                                                      Case number (if known)

4.13      WebBank                                                  Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          215 South State Street                                   When was the debt incurred?
          Suite 800
          Salt Lake City, UT 84111
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                               Contingent

             Debtor 2 only                                               Unliquidated
             Debtor 1 and Debtor 2 only                                  Disputed
             At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims
             No                                                          Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                         Other. Specify   Business Loan

Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                 Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
Total claims
from Part 1             6b.   Taxes and certain other debts you owe the government                          6b.       $                      30,000.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                      30,000.00

                                                                                                                                 Total Claim
                        6f.   Student loans                                                                 6f.       $                      15,501.00
Total claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                        0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                        0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                  610,849.80

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                  626,350.80




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 6 of 6
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Fill in this information to identify your case:

Debtor 1                Jeremy Fain
                        First Name                         Middle Name                    Last Name

Debtor 2
(Spouse if, filing)     First Name                         Middle Name                    Last Name

United States Bankruptcy Court for the:             EASTERN DISTRICT OF NEW YORK

Case number
(if known)                                                                                                                               Check if this is an
                                                                                                                                         amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
       unexpired leases.


        Person or company with whom you have the contract or lease                          State what the contract or lease is for
                        Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number      Street

          City                                   State                   ZIP Code
 2.2
          Name


          Number      Street

          City                                   State                   ZIP Code
 2.3
          Name


          Number      Street

          City                                   State                   ZIP Code
 2.4
          Name


          Number      Street

          City                                   State                   ZIP Code
 2.5
          Name


          Number      Street

          City                                   State                   ZIP Code




Official Form 106G                              Schedule G: Executory Contracts and Unexpired Leases                                                     Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                   Jeremy Fain
                           First Name                           Middle Name         Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name         Last Name

United States Bankruptcy Court for the:                 EASTERN DISTRICT OF NEW YORK

Case number
(if known)                                                                                                                       Check if this is an
                                                                                                                                 amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
      California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
     line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
     106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
     Column 2.

               Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


   3.1         Burning Tree Gaming LLC                                                                 Schedule D, line
               2705 Hempstead Turnpike                                                                 Schedule E/F, line  4.1
               Levittown, NY 11756
                                                                                                       Schedule G
                                                                                                     Amazon Capital Services



   3.2         Burning Tree Gaming LLC                                                                 Schedule D, line
               2705 Hempstead Turnpike                                                                 Schedule E/F, line      4.13
               Levittown, NY 11756
                                                                                                       Schedule G
                                                                                                     WebBank



   3.3         Burning Tree Gaming LLC                                                                 Schedule D, line
               2705 Hempstead Turnpike                                                                 Schedule E/F, line      4.7
               Levittown, NY 11756
                                                                                                       Schedule G
                                                                                                     Mynt Advance




Official Form 106H                                                              Schedule H: Your Codebtors                                    Page 1 of 2
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Debtor 1 Jeremy Fain                                                      Case number (if known)


        Additional Page to List More Codebtors
         Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt
                                                                               Check all schedules that apply:

  3.4    Burning Tree Gaming LLC                                                 Schedule D, line
         2705 Hempstead Turnpike                                                 Schedule E/F, line     4.5
         Levittown, NY 11756
                                                                                 Schedule G
                                                                               IOU Financial, Inc.



  3.5    Burning Tree Gaming LLC                                                 Schedule D, line
         2705 Hempstead Turnpike                                                 Schedule E/F, line     4.2
         Levittown, NY 11756
                                                                                 Schedule G
                                                                               Bay First




Official Form 106H                                         Schedule H: Your Codebtors                                Page 2 of 2
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Fill in this information to identify your case:

Debtor 1                       Jeremy Fain

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:           EASTERN DISTRICT OF NEW YORK

Case number                                                                                                 Check if this is:
(If known)
                                                                                                               An amended filing
                                                                                                               A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:

Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                   Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                    Employed                                    Employed
       attach a separate page with            Employment status
                                                                         Not employed                                Not employed
       information about additional
       employers.
                                              Occupation              CEO
       Include part-time, seasonal, or
       self-employed work.                    Employer's name         Mythic Gaming

       Occupation may include student or Employer's address           955 Old Britton Rd
       homemaker, if it applies.
                                                                      Bellmore, NY 11710

                                              How long employed there?           5 Years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                          For Debtor 1       For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.     $             0.00     $                N/A

3.     Estimate and list monthly overtime pay.                                                 3.    +$             0.00     +$               N/A

4.     Calculate gross Income. Add line 2 + line 3.                                            4.     $          0.00            $         N/A




Official Form 106I                                                        Schedule I: Your Income                                                     page 1
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Debtor 1    Jeremy Fain                                                                            Case number (if known)



                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse
      Copy line 4 here                                                                      4.         $              0.00   $              N/A

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                   5a.        $              0.00   $               N/A
      5b.   Mandatory contributions for retirement plans                                    5b.        $              0.00   $               N/A
      5c.   Voluntary contributions for retirement plans                                    5c.        $              0.00   $               N/A
      5d.   Required repayments of retirement fund loans                                    5d.        $              0.00   $               N/A
      5e.   Insurance                                                                       5e.        $              0.00   $               N/A
      5f.   Domestic support obligations                                                    5f.        $              0.00   $               N/A
      5g.   Union dues                                                                      5g.        $              0.00   $               N/A
      5h.   Other deductions. Specify:                                                      5h.+       $              0.00 + $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.     $                  0.00   $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.     $                  0.00   $               N/A
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                            8a.        $       9,500.00      $               N/A
      8b. Interest and dividends                                                            8b.        $           0.00      $               N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                           8c.        $              0.00   $               N/A
      8d. Unemployment compensation                                                         8d.        $              0.00   $               N/A
      8e.    Social Security                                                                8e.        $              0.00   $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:     Assistance                                                        8f.  $               684.00   $                  N/A
      8g. Pension or retirement income                                                      8g. $                  0.00   $                  N/A
      8h. Other monthly income. Specify:                                                    8h.+ $                 0.00 + $                  N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.     $          10,184.00      $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                         10. $           10,184.00 + $          N/A = $       10,184.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.   +$           0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.     $      10,184.00
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                       Schedule I: Your Income                                                    page 2
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Fill in this information to identify your case:

Debtor 1                 Jeremy Fain                                                                         Check if this is:
                                                                                                                 An amended filing
Debtor 2                                                                                                         A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:    EASTERN DISTRICT OF NEW YORK                                               MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.    Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                     each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                                                                                      Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                            5,005.00

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.   $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                      4b.   $                                0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.   $                                0.00
      4d. Homeowner’s association or condominium dues                                                       4d.   $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.   $                                0.00




Official Form 106J                                                    Schedule J: Your Expenses                                                           page 1
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Debtor 1     Jeremy Fain                                                                                Case number (if known)

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                   6a. $                                               200.00
      6b. Water, sewer, garbage collection                                                     6b. $                                                20.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                   6c. $                                               100.00
      6d. Other. Specify: Cell Phone                                                           6d. $                                               100.00
7.    Food and housekeeping supplies                                                            7. $                                             1,200.00
8.    Childcare and children’s education costs                                                  8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                       9. $                                                 0.00
10.   Personal care products and services                                                      10. $                                                50.00
11.   Medical and dental expenses                                                              11. $                                                50.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                                100.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                  0.00
14.   Charitable contributions and religious donations                                         14. $                                                  0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                150.00
      15b. Health insurance                                                                   15b. $                                                  0.00
      15c. Vehicle insurance                                                                  15c. $                                                600.00
      15d. Other insurance. Specify:                                                          15d. $                                                  0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                   0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                                296.73
      17b. Car payments for Vehicle 2                                                         17b. $                                                684.17
      17c. Other. Specify:                                                                    17c. $                                                  0.00
      17d. Other. Specify:                                                                    17d. $                                                  0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                   0.00
19.   Other payments you make to support others who do not live with you.                           $                                                  0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                   0.00
      20b. Real estate taxes                                                                  20b. $                                                   0.00
      20c. Property, homeowner’s, or renter’s insurance                                       20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                   0.00
      20e. Homeowner’s association or condominium dues                                        20e. $                                                   0.00
21.   Other: Specify:                                                                          21. +$                                                  0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                       8,555.90
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                       8,555.90
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                             10,184.00
    23b. Copy your monthly expenses from line 22c above.                                                     23b. -$                             8,555.90

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                              1,628.10

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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Fill in this information to identify your case:

Debtor 1                 Jeremy Fain
                         First Name               Middle Name              Last Name

Debtor 2
(Spouse if, filing)      First Name               Middle Name              Last Name

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NEW YORK

Case number
(if known)                                                                                                                    Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                  Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Jeremy Fain                                                   X
             Jeremy Fain                                                       Signature of Debtor 2
             Signature of Debtor 1

             Date     February 29, 2024                                        Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
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Fill in this information to identify your case:

Debtor 1                  Jeremy Fain
                          First Name                   Middle Name                    Last Name

Debtor 2
(Spouse if, filing)       First Name                   Middle Name                    Last Name

United States Bankruptcy Court for the:           EASTERN DISTRICT OF NEW YORK

Case number
(if known)                                                                                                                               Check if this is an
                                                                                                                                         amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

             Married
             Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                           Dates Debtor 1 lived          Debtor 2 Prior Address:                             Dates Debtor 2
                                                           there                                                                             lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                               Debtor 1                                                        Debtor 2
                                               Sources of income                 Gross income                  Sources of income             Gross income
                                               Check all that apply.             (before deductions and        Check all that apply.         (before deductions
                                                                                 exclusions)                                                 and exclusions)

For last calendar year:                           Wages, commissions,                       $50,000.00            Wages, commissions,
(January 1 to December 31, 2023 )              bonuses, tips                                                   bonuses, tips

                                                   Operating a business                                           Operating a business




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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Debtor 1     Jeremy Fain                                                                                 Case number (if known)



                                                 Debtor 1                                                       Debtor 2
                                                 Sources of income               Gross income                   Sources of income             Gross income
                                                 Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                                 exclusions)                                                  and exclusions)

For the calendar year before that:                  Wages, commissions,                      $50,000.00            Wages, commissions,
(January 1 to December 31, 2022 )                bonuses, tips                                                  bonuses, tips

                                                    Operating a business                                           Operating a business


For the calendar year:                              Wages, commissions,                      $30,000.00            Wages, commissions,
(January 1 to December 31, 2021 )                bonuses, tips                                                  bonuses, tips

                                                    Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
     other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
     you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                 Debtor 1                                                       Debtor 2
                                                 Sources of income               Gross income from              Sources of income             Gross income
                                                 Describe below.                 each source                    Describe below.               (before deductions
                                                                                 (before deductions and                                       and exclusions)
                                                                                 exclusions)

Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.      Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.      Go to line 7.
                        Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                 payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                 this bankruptcy case.


      Creditor's Name and Address                           Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                  paid             still owe

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
     which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
     business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                  paid             still owe


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Debtor 1     Jeremy Fain                                                                               Case number (if known)



8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                          Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                paid             still owe      Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                          Nature of the case           Court or agency                          Status of the case
      Case number
      IOU Financial v. Jeremy Fain                        Loan Default                 State Court of Georgia                      Pending
                                                                                       Dekalb County                               On appeal
                                                                                                                                   Concluded


      Clear Fund v. Jeremy Fain                                                                                                    Pending
                                                                                                                                   On appeal
                                                                                                                                   Concluded


      Blue Fund v. Jeremy Fain                                                                                                     Pending
                                                                                                                                   On appeal
                                                                                                                                   Concluded



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                           Describe the Property                                          Date                         Value of the
                                                                                                                                                         property
                                                          Explain what happened
      Clear Fund                                                                                                                                     $149,000.00

                                                              Property was repossessed.
                                                              Property was foreclosed.
                                                              Property was garnished.

                                                              Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                           Describe the action the creditor took                          Date action was                  Amount
                                                                                                                         taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes
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Debtor 1     Jeremy Fain                                                                                  Case number (if known)




Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave               Value
      person                                                                                                                the gifts

      Person to Whom You Gave the Gift and
      Address:
      School                                                         Pokemon Lunch Boxes                                    7/15/2023              $15,000.00


      Person's relationship to you:


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                    Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your      Value of property
      how the loss occurred                                                                                                 loss                           lost
                                                         Include the amount that insurance has paid. List pending
                                                         insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                            Description and value of any property                  Date payment or         Amount of
      Address                                                        transferred                                            transfer was             payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You
      Macco Law Group, LLP                                           For services rendered in connection                                            $4,000.00
      2950 Express Drive South                                       with this instant filing $10,000.00, plus
      Suite 109                                                      $30.00 to run a credit report. Filing fee
      Islandia, NY 11749                                             $313.00. See 2016(b) Statement
                                                                     attached.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 4
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Debtor 1      Jeremy Fain                                                                                 Case number (if known)



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment or            Amount of
      Address                                                      transferred                                              transfer was                payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
      Person Who Received Transfer                                 Description and value of                   Describe any property or        Date transfer was
      Address                                                      property transferred                       payments received or debts      made
                                                                                                              paid in exchange
      Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                          Date Transfer was
                                                                                                                                              made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of             Type of account or          Date account was        Last balance before
      Address (Number, Street, City, State and ZIP           account number               instrument                  closed, sold,            closing or transfer
      Code)                                                                                                           moved, or
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?             Describe the contents                  Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State                                          have it?
                                                                   and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access             Describe the contents                  Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                        have it?
                                                                   Address (Number, Street, City, State
                                                                   and ZIP Code)




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Debtor 1     Jeremy Fain                                                                                    Case number (if known)



Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

           No
           Yes. Fill in the details.
      Owner's Name                                               Where is the property?                     Describe the property                    Value
      Address (Number, Street, City, State and ZIP Code)         (Number, Street, City, State and ZIP
                                                                 Code)

Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
     controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
     own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
     material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you   Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you   Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case             Status of the
      Case Number                                                Name                                                                      case
                                                                 Address (Number, Street, City, State
                                                                 and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

              A member of a limited liability company (LLC) or limited liability partnership (LLP)

              A partner in a partnership

              An officer, director, or managing executive of a corporation

              An owner of at least 5% of the voting or equity securities of a corporation




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 6
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Debtor 1      Jeremy Fain                                                                                Case number (if known)



            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                         Describe the nature of the business              Employer Identification number
       Address                                                                                                Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                              Dates business existed
       Mythic Games LLC                                      Retail Toys                                      EIN:         XX-XXXXXXX
       955 Old Britton Rd
       Bellmore, NY 11710                                                                                     From-To      3/29/2019


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                  Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Jeremy Fain
Jeremy Fain                                                           Signature of Debtor 2
Signature of Debtor 1

Date      February 29, 2024                                           Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 7
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Fill in this information to identify your case:                                                              Check as directed in lines 17 and 21:

Debtor 1              Jeremy Fain                                                                               According to the calculations required by this
                                                                                                                Statement:
Debtor 2                                                                                                             1. Disposable income is not determined under
(Spouse, if filing)
                                                                                                                        11 U.S.C. § 1325(b)(3).
United States Bankruptcy Court for the:           Eastern District of New York
                                                                                                                     2. Disposable income is determined under 11
                                                                                                                        U.S.C. § 1325(b)(3).
Case number
(if known)
                                                                                                                     3. The commitment period is 3 years.

                                                                                                                     4. The commitment period is 5 years.

                                                                                                                    Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).

Part 1:          Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married. Fill out both Columns A and B, lines 2-11.

   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
   6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses
   own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                  Column B
                                                                                                       Debtor 1                  Debtor 2 or
                                                                                                                                 non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                                              $              0.00       $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                            $              0.00       $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents, and
     roommates. Do not include payments from a spouse. Do not include payments you
     listed on line 3.                                                                                 $              0.00       $
  5. Net income from operating a business,
     profession, or farm                                             Debtor 1
       Gross receipts (before all deductions)                    $                9,500.00
       Ordinary and necessary operating expenses                -$                    0.00
       Net monthly income from a business,                                                   Copy
       profession, or farm                                       $                9,500.00 here -> $             9,500.00        $
  6. Net income from rental and other real property                  Debtor 1
       Gross receipts (before all deductions)                          $      0.00
       Ordinary and necessary operating expenses                         -$      0.00
       Net monthly income from rental or other real property         $           0.00 Copy here -> $                  0.00       $




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Debtor 1     Jeremy Fain                                                                                 Case number (if known)



                                                                                                     Column A                     Column B
                                                                                                     Debtor 1                     Debtor 2 or
                                                                                                                                  non-filing spouse
                                                                                                     $                 0.00       $
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                       $                 0.00       $
      Do not enter the amount if you contend that the amount received was a benefit under the
      Social Security Act. Instead, list it here:
        For you                                              $                    0.00
           For your spouse                                       $
  9. Pension or retirement income. Do not include any amount received that was a benefit
     under the Social Security Act. Also, except as stated in the next sentence, do not
     include any compensation, pension, pay, annuity, or allowance paid by the United States
     Government in connection with a disability, combat-related injury or disability, or death of
     a member of the uniformed services. If you received any retired pay paid under chapter
     61 of title 10, then include that pay only to the extent that it does not exceed the amount
     of retired pay to which you would otherwise be entitled if retired under any provision of
     title 10 other than chapter 61 of that title.                                                $                    0.00       $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments received
      as a victim of a war crime, a crime against humanity, or international or domestic
      terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If necessary, list other sources on a
      separate page and put the total below.
                                                                                                     $                 0.00       $
                                                                                                     $                 0.00       $
                 Total amounts from separate pages, if any.                                     +    $                 0.00       $

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.              $        9,500.00           +$                    =$          9,500.00

                                                                                                                                                      Total average
                                                                                                                                                      monthly income
Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                    $          9,500.00
  13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 below.
             You are married and your spouse is filing with you. Fill in 0 below.
             You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your dependents,
             such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
             Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional adjustments on
             a separate page.
             If this adjustment does not apply, enter 0 below.
                                                                                            $
                                                                                            $
                                                                                          +$

                   Total                                                                   $                    0.00         Copy here=>          -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                             $          9,500.00

  15. Calculate your current monthly income for the year. Follow these steps:
       15a. Copy line 14 here=>                                                                                                               $          9,500.00




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Debtor 1     Jeremy Fain                                                                                      Case number (if known)


               Multiply line 15a by 12 (the number of months in a year).                                                                                 x 12

       15b. The result is your current monthly income for the year for this part of the form. ...........................................            $    114,000.00


  16. Calculate the median family income that applies to you. Follow these steps:

      16a. Fill in the state in which you live.                                  NY

      16b. Fill in the number of people in your household.                        1
      16c. Fill in the median family income for your state and size of household.                                                                    $     66,402.00
           To find a list of applicable median income amounts, go online using the link specified in the separate
           instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
      17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11
                     U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

      17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                     1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                     your current monthly income from line 14 above.
Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11 .                                                                                   $                   9,500.00
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
    that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's income,
    copy the amount from line 13.
    19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                                   -$                     0.00


      19b. Subtract line 19a from line 18.                                                                                                       $          9,500.00


20. Calculate your current monthly income for the year. Follow these steps:
      20a. Copy line 19b                                                                                                                             $      9,500.00

             Multiply by 12 (the number of months in a year).                                                                                            x 12

      20b. The result is your current monthly income for the year for this part of the form                                                          $    114,000.00



      20c. Copy the median family income for your state and size of household from line 16c                                                          $     66,402.00

      21. How do the lines compare?

                  Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period
                  is 3 years. Go to Part 4.

                  Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                  commitment period is 5 years. Go to Part 4.

Part 4:       Sign Below
      By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

   X /s/ Jeremy Fain
       Jeremy Fain
       Signature of Debtor 1
      Date February 29, 2024
           MM / DD / YYYY
      If you checked 17a, do NOT fill out or file Form 122C-2.
      If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.


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Debtor 1   Jeremy Fain                                                              Case number (if known)




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Fill in this information to identify your case:

Debtor 1              Jeremy Fain

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:      Eastern District of New York

Case number
(if known)                                                                                                    Check if this is an amended filing

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                      04/22

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any additional pages,
write your name and case number (if known).

Part 1:       Calculate Your Deductions from Your Income

   The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the the
   questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
   information may also be available at the bankruptcy clerk’s office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual expenses
   if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form 122C–1, and do not
   deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C–1.

   If your expenses differ from month to month, enter the average expense.

   Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

   5.     The number of people used in determining your deductions from income

          Fill in the number of people who could be claimed as exemptions on your federal income tax return, plus the
          number of any additional dependents whom you support. This number may be different from the number of                  1
          people in your household.



   National Standards               You must use the IRS National Standards to answer the questions in lines 6-7.



   6.     Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards,
          fill in the dollar amount for food, clothing, and other items.                                                             $           841.00


   7.     Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
          the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
          people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
          higher than this IRS amount, you may deduct the additional amount on line 22.




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   People who are under 65 years of age
           7a. Out-of-pocket health care allowance per person            $               79
           7b. Number of people who are under 65                         X           1
           7c. Subtotal. Multiply line 7a by line 7b.                    $          79.00            Copy here=>        $             79.00

   People who are 65 years of age or older

           7d. Out-of-pocket health care allowance per person            $             154
           7e. Number of people who are 65 or older                      X           0
           7f.   Subtotal. Multiply line 7d by line 7e.                  $            0.00           Copy here=>        $              0.00

           7g. Total. Add line 7c and line 7f                                                 $     79.00                   Copy total here=> $           79.00


   Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.
   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy
   purposes into two parts:
        Housing and utilities - Insurance and operating expenses
        Housing and utilities - Mortgage or rent expenses
   To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the separate
   instructions for this form. This chart may also be available at the bankruptcy clerk's office.
   8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill in
        the dollar amount listed for your county for insurance and operating expenses.                                    $               685.00
   9.      Housing and utilities - Mortgage or rent expenses:
           9a. Using the number of people you entered in line 5, fill in the dollar amount
               listed for your county for mortgage or rent expenses.                                                    $       2,710.00

           9b. Total average monthly payment for all mortgages and other debts secured by your home.
                 To calculate the total average monthly payment, add all amounts that are
                 contractually due to each secured creditor in the 60 months after you file for
                 bankruptcy. Next divide by 60.

                 Name of the creditor                                         Average monthly
                                                                              payment

                 ServiceMac/Movement                                          $          5,005.05

                                                                                                     Copy                                       Repeat this amount
                                     9b. Total average monthly payment        $          5,005.05    here=>        -$               5,005.05 on line 33a.

           9c. Net mortgage or rent expense.

                 Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                            Copy
                 rent expense). If this number is less than $0, enter $0.                               $                    0.00      here=>    $            0.00


   10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
       affects the calculation of your monthly expenses, fill in any additional amount you claim.                                               $             0.00

            Explain why:




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Debtor 1     Jeremy Fain                                                                                        Case number (if known)


   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

              0. Go to line 14.

              1. Go to line 12.

              2 or more. Go to line 12.
   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
       expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                            $       758.00
   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below. You
       may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for more than
       two vehicles.
    Vehicle 1         Describe Vehicle 1:
                                                 2020 Lexus CS350 30,000 miles Subject to lien
   13a. Ownership or leasing costs using IRS Local Standard..................................................         $             629.00
   13b. Average monthly payment for all debts secured by Vehicle 1.
           Do not include costs for leased vehicles.

           To calculate the average monthly payment here and on line 13e, add all amounts that are
           contractually due to each secured creditor in the 60 months after you file for bankruptcy.
           Then divide by 60.

                Name of each creditor for Vehicle 1                                 Average monthly
                                                                                    payment
                Td Auto Finance                                                     $              296.73

                                                                                                                                                     Repeat this
                                                                                                                 Copy                                amount on
                                        Total Average Monthly Payment               $              296.73        here =>       -$          296.73 line 33b.

   13c. Net Vehicle 1 ownership or lease expense                                                                                                Copy net
                                                                                                                                                Vehicle 1
           Subtract line 13b from line 13a. if this number is less than $0, enter $0. .....................                                     expense here
                                                                                                                      $             332.27      =>              $   332.27

    Vehicle 2         Describe Vehicle 2:        2020 Audi A4 40,000 miles Subject to lien
   13d. Ownership or leasing costs using IRS Local Standard..................................................         $             629.00
   13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
        leased vehicles.

                Name of each creditor for Vehicle 2                                 Average monthly
                                                                                    payment

                Td Auto Finance                                                     $              684.17

                                                                                                                 Copy                            Repeat this
                                                                                                                 here                            amount on line
                                        Total average monthly payment               $              684.17                                684.17 33c.
                                                                                                                 =>       -$

   13f. Net Vehicle 2 ownership or lease expense                                                                                                Copy net
                                                                                                                                                Vehicle 2
           Subtract line 13e from line 13d. if this number is less than $0, enter $0. .......................                                   expense here
                                                                                                                      $               0.00      =>              $     0.00

   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
       Public Transportation expense allowance regardless of whether you use public transportation.                                                         $         0.00
   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
       deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
       more than the IRS Local Standard for Public Transportation.                                                                                          $         0.00




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Debtor 1     Jeremy Fain                                                                               Case number (if known)


   Other Necessary Expenses              In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                         the following IRS categories.
   16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
       self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from your
       pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and subtract
       that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.                                                                                   $     3,000.00
   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.               $         0.00
   18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse's term life insurance.
       Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form of
       life insurance other than term.                                                                                                    $         0.00
   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.          $         0.00
   20. Education: The total monthly amount that you pay for education that is either required:
              as a condition for your job, or
              for your physically or mentally challenged dependent child if no public education is available for similar services.        $         0.00
   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.                                                          $         0.00
   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is
       required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
       savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.                                         $         0.00
   23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services for
       you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
       service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it
       is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                        +$         0.00

   24. Add all of the expenses allowed under the IRS expense allowances.                                                                 $    5,695.27
       Add lines 6 through 23.
   Additional Expense Deductions                These are additional deductions allowed by the Means Test.
                                                Note: Do not include any expense allowances listed in lines 6-24.
   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
       dependents.
           Health insurance                                             $             0.00
           Disability insurance                                         $             0.00
           Health savings account                                     +$              0.00

           Total                                                            $          0.00       Copy total here=>                      $          0.00


           Do you actually spend this total amount?
                  No. How much do you actually spend?
                   Yes                                                      $
   26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your
       household or member of your immediate family who is unable to pay for such expenses. These expenses may include
       contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b)                                                       $         0.00
   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
       you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
           By law, the court must keep the nature of these expenses confidential.                                                         $         0.00




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Debtor 1     Jeremy Fain                                                                             Case number (if known)

   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
           If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8,
           then fill in the excess amount of home energy costs
           You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
           claimed is reasonable and necessary.                                                                                                $              0.00
   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
       $189.58* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
       elementary or secondary school.
           You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
           reasonable and necessary and not already accounted for in lines 6-23.
           * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.                $              0.00
   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher
       than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of
       the food and clothing allowances in the IRS National Standards.
           To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
           this form. This chart may also be available at the bankruptcy clerk's office.
           You must show that the additional amount claimed is reasonable and necessary.                                                       $              0.00
   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
       instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
           Do not include any amount more than 15% of your gross monthly income.                                                               $              0.00

   32. Add all of the additional expense deductions.                                                                                           $            0.00
       Add lines 25 through 31.

   Deductions for Debt Payment
   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle loans,
       and other secured debt, fill in lines 33a through 33e.
         To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
         the 60 months after you file for bankruptcy. Then divide by 60.
             Mortgages on your home                                                                                                        Average monthly
                                                                                                                                           payment
   33a.      Copy line 9b here                                                                                                      =>     $           5,005.05
             Loans on your first two vehicles
   33b.      Copy line 13b here                                                                                                     =>     $            296.73
   33c.      Copy line 13e here                                                                                                     =>     $            684.17
   33d.      List other secured debts:
   Name of each creditor for other secured debt            Identify property that secures the debt                     Does payment
                                                                                                                       include taxes
                                                                                                                       or insurance?
                                                                                                                              No
            -NONE-                                                                                                            Yes          $

                                                                                                                              No
                                                                                                                              Yes          $

                                                                                                                              No
                                                                                                                              Yes   +      $


                                                                                                                                    Copy
                                                                                                                                    total
   33e      Total average monthly payment. Add lines 33a through 33d                                     $           5,985.95       here=>         $    5,985.95




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Debtor 1      Jeremy Fain                                                                                            Case number (if known)

   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or
       other property necessary for your support or the support of your dependents?

              No. Go to line 35.
              Yes. State any amount that you must pay to a creditor, in addition to the payments listed in
                   line 33, to keep possession of your property (called the cure amount). Next, divide by
                   60 and fill in the information below.
    Name of the creditor                                          Identify property that secures the debt                 Total cure amount                     Monthly cure
                                                                                                                                                                amount
    -NONE-                                                                                                            $                              ÷ 60 = $

                                                                                                                                                        Copy
                                                                                                                                                        total
                                                                                                                   Total $                    0.00      here=>        $          0.00

   35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
       are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
              No.      Go to line 36.
              Yes. Fill in the total amount of all of these priority claims. Do not include current or ongoing
                   priority claims, such as those you listed in line 19.
                         Total amount of all past-due priority claims                                                     $        30,000.00            ÷ 60         $         500.00
   36. Projected monthly Chapter 13 plan payment                                                                          $
       Current multiplier for your district as stated on the list issued by the Administrative
       Office of the United States Courts (for districts in Alabama and North Carolina) or by the
       Executive Office for United States Trustees (for all other districts).                                             X
       To find a list of district multipliers that includes your district, go online using the link specified in
       the separate instructions for this form. This list may also be available at the bankruptcy clerk's
       office.
                                                                                                                                                      Copy total
       Average monthly administrative expense                                                                                 $                       here=> $



   37. Add all of the deductions for debt payment. Add lines 33e through 36.                                                                                      $       6,485.95


   Total Deductions from Income
   38. Add all of the allowed deductions.
           Copy line 24, All of the expenses allowed under IRS
           expense allowances                                                                          $      5,695.27
           Copy line 32, All of the additional expense deductions                                      $           0.00
           Copy line 37, All of the deductions for debt payment                                       +$      6,485.95


           Total deductions....................................................................        $     12,181.22        Copy total here=>                  $        12,181.22




Official Form 122C-2                                                   Chapter 13 Calculation of Your Disposable Income                                                        page 6
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Debtor 1   Jeremy Fain                                                                              Case number (if known)



Part 2:      Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

   39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
       Statement of Your Current Monthly Income and Calculation of Commitment Period.                                             $                   9,500.00
   40. Fill in any reasonably necessary income you receive for support for dependent
       children. The monthly average of any child support payments, foster care payments, or
       disability payments for a dependent child, reported in Part I of Form 122C-1, that you received
       in accordance with applicable nonbankruptcy law to the extent reasonably necessary to be
       expended for such child.                                                                             $                  0.00
   41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
       employer withheld from wages as contributions for qualified retirement plans, as specified in 11
       U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as specified in
       11 U.S.C. § 362(b)(19).                                                                          $                      0.00
   42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here              =>    $          12,181.22
   43. Deduction for special circumstances. If special circumstances justify additional expenses
       and you have no reasonable alternative, describe the special circumstances and their
       expenses. You must give your case trustee a detailed explanation of the special circumstances
       and documentation for the expenses.

   Describe the special circumstances                                                  Amount of expense

                                                                                   $

                                                                                   $

                                                                                   $

                                                                                                           Copy
                                                                       Total $                 0.00        here=> $                   0.00


                                                                                                                                 Copy
   44. Total adjustments. Add lines 40 through 43.                                             =>      $        12,181.22        here=> -$           12,181.22


   45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                    $         -2,681.22

Part 3:      Change in Income or Expenses

   46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have
       changed or are virtually certain to change after the date you filed your bankruptcy petition and during the time your
       case will be open, fill in the information below. For example, if the wages reported increased after you filed your
       petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the wages increased, fill
       in when the increase occurred, and fill in the amount of the increase.

   Form          Line          Reason for change                                        Date of change          Increase or       Amount of change
                                                                                                                decrease?
      122C-1                                                                                                       Increase
      122C-2                                                                                                       Decrease       $
      122C-1                                                                                                       Increase
      122C-2                                                                                                       Decrease       $
      122C-1                                                                                                       Increase
      122C-2                                                                                                       Decrease       $
      122C-1                                                                                                       Increase
      122C-2                                                                                                       Decrease       $




Official Form 122C-2                                Chapter 13 Calculation of Your Disposable Income                                                    page 7
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Debtor 1     Jeremy Fain                                                                             Case number (if known)




Part 4:        Sign Below



           By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


      X /s/ Jeremy Fain
            Jeremy Fain
            Signature of Debtor 1
   Date February 29, 2024
        MM / DD / YYYY




Official Form 122C-2                                  Chapter 13 Calculation of Your Disposable Income                                                page 8
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                            Eastern District of New York
 In re       Jeremy Fain                                                                                     Case No.
                                                                             Debtor(s)                       Chapter      13

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                10,000.00
             Prior to the filing of this statement I have received                                       $                  7,500.00
             Balance Due                                                                                 $                  2,500.00

2.   $      313.00      of the filing fee has been paid.

3.   The source of the compensation paid to me was:
                 Debtor              Other (specify):

4.   The source of compensation to be paid to me is:
                 Debtor              Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Initial consultation, asset and exemption analysis, prepation and review of the petition and schedules, filing the
             petition and schedules, apperance at an initial Bankruptcy Code §341 meeting, reaffirmation and lease
             assumption agreements.

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtor in any dischargeability actions, amending petition and schedules, loss mitigation
             (inside or outside of the court's approved loss mitigation program), judicial lien avoidance, avoidance of wholly
             unsecured mortgages, opposition to motions for relief from stay , motions to modify confirmed chapter 13
             plans, motions to approved loan modifications, claim objections, opposition to motions to dismiss, apperance
             at adjourned Bankruptcy Code §341 meetings due to Debtor's failure to appear, or any other contested matters
             or adversary proceeding.
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In re    Jeremy Fain                                                                              Case No.
                                                 Debtor(s)

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                       (Continuation Sheet)
                                                               CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

   February 29, 2024                                                    /s/ Peter Corey
   Date                                                                 Peter Corey
                                                                        Signature of Attorney
                                                                        Macco & Corey, P.C.
                                                                        2950 Express Drive South
                                                                        Suite 109
                                                                        Islandia, NY 11749
                                                                        631-549-7900 Fax: 631-549-7845
                                                                        pcorey@maccolaw.com
                                                                        Name of law firm
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                                       United States Bankruptcy Court
                                           Eastern District of New York
 In re    Jeremy Fain                                                          Case No.
                                                         Debtor(s)             Chapter    13




                            VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.


Date: February 29, 2024                       /s/ Jeremy Fain
                                              Jeremy Fain
                                              Signature of Debtor

Date: February 29, 2024                       /s/ Peter Corey
                                              Signature of Attorney
                                              Peter Corey
                                              Macco & Corey, P.C.
                                              2950 Express Drive South
                                              Suite 109
                                              Islandia, NY 11749
                                              631-549-7900 Fax: 631-549-7845




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                   Amazon Capital Services
                   410 Terry Avenue North
                   Seattle, WA 98109


                   Bay First
                   700 Central Ave
                   Saint Petersburg, FL 33701


                   Burning Tree Gaming LLC
                   2705 Hempstead Turnpike
                   Levittown, NY 11756


                   Capital One
                   Attn: Bankruptcy
                   Po Box 30285
                   Salt Lake City, UT 84130


                   Chase Card Services
                   Attn: Bankruptcy
                   P.O. 15298
                   Wilmington, DE 19850


                   IOU Financial, Inc.
                   600 Townpark Ln NW
                   STE 100
                   Kennesaw, GA 30144


                   Marcus by Goldman Sachs
                   PO Box 45400
                   Salt Lake City, UT 84145-0400


                   Mynt Advance
                   633 167th St.
                   Suite 804
                   Miami, FL 33162


                   Navient
                   Attn: Bankruptcy
                   Po Box 9500
                   Wilkes Barre, PA 18773


                   NYS Department of
                   Taxation & Finance
                   PO Box 5149
                   Albany, NY 12205
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               ServiceMac/Movement
               Mortgage
               9726 Old Bailes Rd,
               Suite 200
               Fort Mill, SC 29707


               Td Auto Finance
               Attn: Bankruptcy
               Po Box 9223
               Farmington Hills, MI 48333


               TD Bank, N.A.
               Td Bank Usbc
               Greenville, SC 29607


               WebBank
               215 South State Street
               Suite 800
               Salt Lake City, UT 84111
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                                       UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF NEW YORK


                                         STATEMENT PURSUANT TO LOCAL
                                           BANKRUPTCY RULE 1073-2(b)

 DEBTOR(S):          Jeremy Fain                                                      CASE NO.:.
        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii)
are spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v)
are a partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or
(vii) have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included
in the property of another estate under 11 U.S.C. § 541(a).]

   NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

   THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:



1. CASE NO.:            JUDGE:             DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                             [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
                                                         (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


2. CASE NO.:            JUDGE:             DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                             [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
                                                         (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


3. CASE NO.:            JUDGE:             DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                             [If closed] Date of closing:




                                                                (OVER)
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DISCLOSURE OF RELATED CASES (cont'd)

CURRENT STATUS OF RELATED CASE:
                                                         (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may
not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):    Y


CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time,
except as indicated elsewhere on this form.


/s/ Peter Corey
Peter Corey
Signature of Debtor's Attorney                                          Signature of Pro Se Debtor/Petitioner
Macco & Corey, P.C.
2950 Express Drive South
Suite 109
Islandia, NY 11749                                                      Signature of Pro Se Joint Debtor/Petitioner
631-549-7900 Fax:631-549-7845

                                                                        Mailing Address of Debtor/Petitioner


                                                                        City, State, Zip Code


                                                                          Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or
the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.




USBC-17                                                                                            Rev.8/11/2009
